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  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY
  Caption in Compliance with D.N.J. LBR 9004-2(c)

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                                                      Chapter 11
  In re:
                                                      Case No. 08-14631
  SHAPES/ARCH HOLDINGS L.L.C., et al.,                (Jointly Administered)

                         Debtors.                     Judge: Hon. Gloria M. Burns

                                                      Hearing Date: May __, 2008

                         ORDER APPOINTING CHAPTER 11 TRUSTEE
                          PURSUANT TO 11 U.S.C. §§ 1104 AND 1106

           The relief set forth on the following page, numbered two (2), is hereby ORDERED.




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  (Page 2)
  Debtor:                   SHAPES/ARCH HOLDINGS L.L.C., et al.
  Case No.                  08-14631(GMB) (JOINTLY ADMINISTERED)
  Caption of Order:         ORDER APPOINTING CHAPTER 11 TRUSTEE PURSUANT
                            TO 11 U.S.C. §§ 1104 AND 1106


           THIS MATTER having been opened to the Court by The Official Committee of

  Unsecured Creditors (the “Committee”) of Shapes/Arch Holdings L.L.C., et al. (the

  “Debtors”), by and through its co-counsel, upon motion for an order appointing a Chapter

  11 trustee in these Chapter 11 cases pursuant to 11 U.S.C. §§1104 and 1106 (the

  “Motion); and good and sufficient notice of the hearing on the Motion having been

  provided in accordance with the Order Shortening Time entered by the Court on April

  ___, 2008, as evidenced by the Affidavit of Service filed with the Court; and the Court

  having considered the moving papers, the opposition thereto, if any, and the oral

  arguments of counsel; and the Court having determined that good cause exists for the

  entry of this Order,

           IT IS ORDERED as follows:

           1.        Pursuant to 11 U.S.C. §§ 1104 and 1106, the Office of the United States

  Trustee for the District of New Jersey shall appoint a Chapter 11 Trustee for the Debtors

  forthwith.

           2.        A true copy of this Order shall be served on all parties-in-interest within

  seven (7) days hereof.




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